

Matter of Attorneys in Violation of Judiciary Law § 468-a (Sharma) (2023 NY Slip Op 03833)





Matter of Attorneys in Violation of Judiciary Law § 468-a (Sharma)


2023 NY Slip Op 03833


Decided on July 13, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:July 13, 2023

PM-144-23
[*1]In the Matter of Attorneys in Violation of Judiciary Law § 468-a. Attorney Grievance Committee for the Third Judicial Department, Petitioner; Vidhi Sharma, Respondent. (Attorney Registration No. 5464409.)

Calendar Date:April 10, 2023

Before:Garry, P.J., Lynch, Aarons, Pritzker and Reynolds Fitzgerald, JJ., concur.

Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.
Tesser, Ryan &amp; Rochman, LLP, White Plains (Randall Tesser of counsel), for respondent.



Motion by respondent for an order reinstating her to the practice of law following her suspension by September 2022 order of this Court (Matter of Attorneys in Violation of Judiciary Law § 468-a, 208 AD3d 1421, 1441 [3d Dept 2022]; see Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.16; Rules of App Div, 3d Dept [22 NYCRR] § 806.16).
Upon reading respondent's notice of motion and affidavit with exhibits sworn to March 4, 2023 and the April 6, 2023 responsive correspondence from the Attorney Grievance Committee for the Third Judicial Department, and having determined, by clear and convincing evidence, that (1) respondent has complied with the order of suspension and the rules of this Court, (2) respondent has the requisite character and fitness to practice law, and (3) it would be in the public interest to reinstate respondent to the practice of law (see Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.16 [a]), it is
ORDERED that respondent's motion for reinstatement is granted; and it is further
ORDERED that respondent is reinstated as an attorney and counselor-at-law, effective immediately.
Garry, P.J., Lynch, Aarons, Pritzker and Reynolds Fitzgerald, JJ., concur.








